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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      May 23, 2025

BY ECF
The Honorable Mary Kay Vyskocil
United States District Judge
500 Pearl Street, Room 2230
New York, New York 10007

               Re:     American Association of University Professors, et al. v. United States
                       Department of Justice, et al., 25 Civ. 2429 (MKV)

Dear Judge Vyskocil:

       This Office represents the defendants (the “Government”) in the above-captioned matter.
We write respectfully to clarify certain facts in the Government’s Opposition to Plaintiffs’ Motion
for a Preliminary Injunction, ECF No. 91, and the accompanying declaration from Jon Lorsch,
ECF No. 92 (“Lorsch Declaration”). These points relate to the factual background in this matter,
but have no impact on the legal arguments made in the Government’s brief.

        Specifically, first, the Lorsch Declaration stated that, on March 10, 2025, the National
Institutes of Health (“NIH”) sent Columbia University correspondence notifying the University
that 396 grants had been terminated. (Lorsch Declaration ¶ 17.) Since the declaration was filed, it
has come to the attention of Dr. Lorsch and this Office that, due to substantively duplicative entries
on the list sent to Columbia, the March 10 letter related to approximately 233 grants (not 396).
Second, there was another, materially similar termination letter that was inadvertently not
referenced in the Lorsch Declaration and was sent to Columbia on March 14, 2025, regarding an
additional set of less than 30 grants. Third, paragraph 17 of the Lorsch Declaration and page 3 of
the Government’s brief state that the March 10 letter informed the University that the grants had
been terminated; in fact, the letter stated that the grants “will be” terminated, and as referenced in
paragraph 19 of the Lorsch Declaration, the terminations had to be separately effectuated through
issuance of a revised Notice of Award for each grant. Fourth, and finally, paragraph 19 of the
Lorsch Declaration provided the number of grants for which NIH had issued revised Notices of
Award and the number of reinstated grants, and it has come to Dr. Lorsch and this Office’s
attention that these numbers also require revision.

        Accordingly, the Government respectfully submits the attached Amended Declaration of
Jon Lorsch, which reflects corrected information on the above points and makes certain other
revisions to incorporate this information, reflect updated information as of the Amended
Declaration signature date, and for clarity. As noted above, these changes have no impact on the
Government’s legal arguments.
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      We thank the Court for its attention to this matter.

                                                    Respectfully submitted,

                                                    JAY CLAYTON
                                                    United States Attorney for the
                                                    Southern District of New York

                                             By:    /s/ Jeffrey Oestericher
                                                    JEFFREY OESTERICHER
                                                    ALLISON M. ROVNER
                                                    Assistant United States Attorneys
                                                    86 Chambers Street, Third Floor
                                                    New York, New York 10007
                                                    Tel.: (212) 637-2695/2691
                                                    Email: jeffrey.oestericher@usdoj.gov
                                                             allison.rovner@usdoj.gov


cc:   Counsel of Record (by ECF)
